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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                              TRENTON VICINAGE


   JANE DOE (said name being fictitious),   Hon. Georgette Castner, U.S.D.J.

                                            Civil Action No. 24-107 (GC-JBD)
                        Plaintiff(s),

   v.
                                                          CIVIL ACTION
   DELAWARE VALLEY REGIONAL
   HIGH   SCHOOL      BOARD OF
   EDUCATION, et al.,

                        Defendant(s).




      BOARD DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFF
   JOHN DOE’S APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                   AND PRELIMINARY INJUCTION



                                               ROSHAN D. SHAH, ESQ. (42302009)
                                               ANDERSON & SHAH LLC
                                               1040 Broad Street, Suite 304
                                               Shrewsbury, NJ 07702
                                               Tel: 732-398-6545
                                               Fax: 732-576-0027
                                               Attorneys for Defendants Delaware
                                               Valley Regional High School Board of
                                               Education, Scott McKinney, and Ashley
                                               Miranda

 Of Counsel and On the Brief:
 Roshan D. Shah, Esq.
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                                  PRELIMINARY STATEMENT

         Defendant Delaware Valley Regional High School Board of Education (the

 “Board”) is a public school serving students in grades nine through twelve. Consistent

 with federal and state law, the Board adopted Policy 5756, which provides:

                 The school district shall accept a student's asserted gender
                 identity; parental consent is not required. A student need not
                 meet any threshold diagnosis or treatment requirements to
                 have his or her gender identity recognized and respected by
                 the school district, school, or school staff members. In
                 addition, a legal or court ordered name change is not required.
                 There is no affirmative duty for any school district staff
                 member to notify a student's parent of the student's gender
                 identity or expression.

 The policy informs the school community that teachers and staff will respect a high

 school-aged student’s preferred name and pronouns. Recognizing a transgender student’s

 preferred name and pronoun—part of what is known as social transitioning—helps reduce

 the serious mental health risks and suicide concerns that plague transgender youth. Lily

 Durwood et al., Mental Health and Self Worth in Socially Transitioned Transgender

 Youth, 56 J. of the Am. Academy of Child & Adolescent Psychiatry 116, 116 (2017). Under

 Policy 5756, the student—not school officials—initiates any social transition towards their

 expressed gender identity.

         Plaintiff John Doe—the parent of Jane Doe—has filed suit alleging that Board

 Policy 5756 violates his constitutional rights as a parent because it allowed school officials

 to accept Jane’s 1 expressed gender identity—Jane now identifies as a male—and foster her

 social transition without his consent. Doe readily admits that Jane approached school

 officials and expressed a desire to be referred to as a male. Nonetheless, Doe contends



 1 This brief refers to the student as “Jane” and “her” to keep consistent with the Complaint and for clarity.

 We mean no disrespect.


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 that the Board, along with its Superintendent, Scott McKinney, and guidance counselor,

 Ashley Miranda (collectively, the “Board Defendants”), violated both his substantive due

 process rights under the Fourteenth Amendment and the New Jersey Constitution’s

 guarantee of a thorough and efficient education. Doe brings these same claims against the

 State of New Jersey.

        Contemporaneous with the filing of his Complaint, Doe sought a temporary

 restraining order and preliminary injunction. In moving for relief, Doe contends he has a

 substantive due process right in how to raise Jane and that this right entitles him to an

 injunction that, among other things, prohibits the Board’s teachers and staff from

 referring to Jane using Jane’s preferred name and pronoun. The Board Defendants now

 respond.

        To obtain an injunction, Doe—not the Board Defendants—must demonstrate that:

 1) he enjoys a likelihood of success on the merits; and 2) he will suffer irreparable harm

 without an injunction. Delaware River Port Auth. v. Transamerican Trailer Transp.,

 Inc., 501 F.2d 917, 920 (3d Cir. 1974). If a movant makes this threshold showing, the Court

 should also examine: 3) if the balance of hardships weighs in favor of an injunction; and

 4) whether the public interest favors an injunction. Doe can’t even vault the first

 threshold.

        The Board Defendants acknowledge—in fact, endorse—the U.S. Supreme Court’s

 view that parents have a substantive due process right “in the care, custody, and control

 of their children,” Troxel v. Granville, 530 U.S. 57, 65-66 (2000). But this right has never

 been construed to permit parents to regulate the in-school environment or curriculum.

 Stated differently, while parents “have a fundamental right to decide whether to send

 their child to a public school, they do not have a fundamental right generally to direct how


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 a public school teaches their child.” Blau v. Fort Thomas Pub. Sch. Dist., 401 F.3d 381,

 395 (6th Cir. 2005)(emphasis in original). Rather, “[b]y and large, public education in our

 Nation is committed to the control of state and local authorities.” Epperson v. State of

 Ark., 393 U.S. 97, 104 (1968).

        What Doe truly seeks is not the enforcement of a recognized substantive due

 process right—no case that he cites supports his demand for relief—but rather an

 expansion of substantive due process rights. To do so, he must demonstrate that the right

 to control and administer the schools is “objectively, deeply rooted in this Nation’s history

 and tradition[.]” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997). Any lesser

 showing would incorrectly conflate “what that Amendment protects with our own ardent

 views about the liberty that Americans should enjoy.” Dobbs v. Jackson Women's Health

 Org., 597 U.S. 215, 239 (2022).

        Doe doesn’t try to make any such showing because he can’t. As explained below,

 neither Blackstone’s Commentaries, nor the genesis of our public education system,

 reveal a scintilla of evidence that parents ever enjoyed a fundamental right to control the

 school environment consistent with their own personal views. Stated plainly, the

 substantive due process right that Doe rests his entire claim for relief on does not exist.

 The theory lacks merit.

        Doe cannot make the threshold showing necessary for the Court to grant him

 injunctive relief. And as further explained below, he can’t satisfy the other factors either.

 Accordingly, the Board Defendants respectfully request that the Court deny Doe’s

 application for a temporary restraining order and preliminary injunction.




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                   PROCEDURAL AND FACTUAL BACKGROUND

         A.     The Parties

         Doe is the father of Jane, a minor child and student who attends Delaware Valley

  Regional High School (DVRHS). Comp., ¶ 1. Jane suffers from Attention-

  Deficit/Hyperactivity Disorder (“ADHD”) and Unspecified Mental Disorder (“UMD”). Id.

  at ¶ 13. While born a biological female, Jane identifies as a male, something the Complaint

  labels as “gender confusion” and attributes to the trauma associated with the death of her

  mother. Id.

         The Board is a public entity that oversees DVRHS. Id. at ¶ 4. McKinney is the

  Superintendent. Id. at ¶ 2. Miranda is the high school counselor. Id. at ¶ 3.

         Doe has also named as defendants Attorney General Matthew Platkin and Acting

  Commissioner of Education Angelica Allen-McMillan, but only in their official capacities.

  Id. at ¶¶ 5-6. These official capacity claims are construed as suits against the entity, the

  State of New Jersey. See Hafer v. Melo, 502 U.S. 21, 25 (1991).

         B.     Jane’s Expression Of Gender Identity And Board Policy 5756.

         Jane is a freshman at DVRHS. See Id. at ¶ 20. As part of her extracurricular

  activities, Jane joined Students Advocating for Equality (“SAFE”), a student advocacy

  group that “promote[s] open discussion and awareness about modern cultures and topics

  surrounding intersectionality while aiming to make positive contributions to our

  community and school.” Id. at ¶ 20. Miranda is the faculty advisor to SAFE. Id. at ¶ 21.

  During a SAFE meeting, Jane expressed that she identified as a male and would like to

  “socially transition”—meaning be referred to by her identified gender. Id. at ¶ 22.

         At no time did Miranda encourage or coerce Jane to identify as a different gender

  than her birth gender. Declaration of Ashley Miranda (“Miranda Decl.”), ¶ 18. As


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  Miranda explains in her declaration, if Jane had expressed today that she identified as a

  female, then Miranda would immediately respect that decision and begin referring to her

  with her female name and pronouns. Id. at ¶ 19.

         Jane’s desire to socially transition to her identified gender implicated Board Policy

  5756, which states:

                The school district shall accept a student's asserted gender
                identity; parental consent is not required. A student need not
                meet any threshold diagnosis or treatment requirements to
                have his or her gender identity recognized and respected by
                the school district, school, or school staff members. In
                addition, a legal or court ordered name change is not required.
                There is no affirmative duty for any school district staff
                member to notify a student's parent of the student's gender
                identity or expression. [Id. at ¶ 14].

  As is self-evident, the policy is only implicated when the student “assert[s]” a gender

  identity and seeks to “have his or gender identity recognized” by the district. Id. The policy

  does not permit school staff or teachers to lie to parents. Declaration of Scott McKinney

  (“McKinney Decl.”), ¶ 7. Rather, it merely states that there is no “affirmative duty” to

  notify a parent of the student’s gender identity or expression. Comp., ¶ 14. The purpose

  of the policy is to foster an inclusive and harassment-free atmosphere for all students,

  including transgender students. McKinney Decl., ¶ 8.

         The policy is consistent with guidance received from the New Jersey Dep’t of

  Education (“NJDOE”), which “encourages [districts] to take a ‘student-centered

  approach’ to students who believe themselves to be transgender,” and “declares, ‘school

  district personnel should have an open, but confidential discussion with the student to

  ascertain the student’s preference on matters such as chosen name, chosen pronoun use,

  and parental communications.’” Id. at ¶ 15 (citing N.J. Dep’t of Ed., Transgender Student

  Guidance for School Districts (Sept. 27, 2018)).


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         Based upon Jane’s gender expression, Miranda sent a communication to certain

  DVRHS staff about Jane’s preferred name and pronouns. Miranda Decl., ¶ 28. While the

  Complaint alleges that two teachers, Sarah Hall and Kari Gursky, see comp., ¶ 26, were

  not included on Miranda’s communication because they “have contacts with members of

  the Doe household,” this is incorrect. Miranda Decl., ¶ 29. Both staff members were, in

  fact, included on the e-mail. Id. at ¶ 30.

         In the e-mail, Miranda advised recipients that Doe was not supportive of Jane’s

  expressed gender identity and that Jane wanted the matter treated confidentially. Id. at ¶

  32-33. Thus, Miranda advised that Jane’s preferred name would not be changed in the

  school’s system and her birth name would be used to summon her to the office. Id. at ¶

  33. The latter concern was based on Jane’s concern that her sibling, who also attended

  DVRHS, would cause issues for her at home. Id. at ¶ 34.

         C.     Doe’s Demand That The Board Disregard Jane’s Gender Identity.

         Doe claims he only discovered Jane’s gender identity when another parent called

  Jane using her chosen male name. Id. at ¶ 28. When Doe questioned the parent, the

  parent allegedly told him it was because Jane “was being called by such name at school”

  due to her social transition. Id.

         Doe then removed Jane from school. Id. at ¶ 29. He then confronted the Board

  Defendants and shared Jane’s “personal and therapeutic history” with them. Id. Miranda

  said she was not aware of Jane’s ADHD and UMD diagnoses. Id. at ¶ 30. Doe stated that

  neither he, nor Jane’s therapist, agreed with Jane’s gender identity and her desire to

  socially transition to male. Id. at ¶ 31. Consistent with Board Policy 5756, and NJDOE’s

  guidance, McKinney and Miranda respectfully explained that they would continue to refer

  to Jane by her expressed gender identity. See Id. at ¶ 32.


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         Doe then escalated the matter by serving a Cease and Desist letter from his legal

  counsel on December 8, 2023. Id. at ¶ 33. That same day, Doe also served a letter on the

  Board’s legal counsel, Fogerty & Hara, repeating the same demands. Id. On December 14,

  2023, the Board’s legal counsel responded with its own letter, explaining that the Board,

  consistent with federal and state law and its policy, would continue to honor Jane’s self-

  expressed gender identity and preferred name and pronoun. Id. at ¶ 35. A copy of the

  correspondence between Doe and the Board’s counsel are attached to the Complaint as

  Exhibits C, D and E.

         Doe has continued to keep Jane out of school. Id. at ¶ 36. The Board Defendants

  offered to provide Jane one-on-one instruction at a public library, so she wouldn’t

  continue to miss out on educational opportunities. Id. at ¶ 37. The Board Defendants

  informed Doe that, if Jane wanted to be referred to by her preferred name and pronoun

  during these instructional sessions, they would respect her request. Id. That did not result

  in Doe reconsidering his position.

         While Doe has filed a declaration stating that the Department of Child Protection

  & Permanency (“DCPP”) visited the home, Supp. Declaration of John Doe, ¶ 9, after

  diligent inquiry, McKinney has not been able to confirm that any Board employee

  reported the matter to DCPP. McKinney Decl., ¶ 7.

         D.       Doe Files The Instant Suit.

         On January 5, 2024, Doe filed the instant suit alleging violations of his

  constitutional rights. The Complaint asserts three claims:

              •   Count I: relief under the Declaratory Judgment Act, 28 U.S.C. § 2201,
                  including a declaration that the New Jersey Law Against Discrimination,
                  Board Policy 5756, and the NJDOE’s guidance concerning transgender
                  students is unconstitutional;



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             •   Count II: claim under 42 U.S.C. § 1983 for violation of the Fourteenth
                 Amendment’s substantive due process clause and for violation of the
                 Department of Education Organization Act of 1979, 20 U.S.C. § 3401;

             •   Count III: claim under N.J.S.A. § 10:6-2 for violation of Doe’s “right to
                 parent a minor child who is receiving a thorough and efficient education.”

  Comp., Counts I-III. Doe seeks injunctive relief, as well as compensatory and punitive

  damages.

         On the same day he filed suit, Doe sought a temporary restraining order (TRO) and

  preliminary injunction. ECF No. 3. Doe’s provisional remedy demands include an order:

             •   prohibiting the Attorney General from “enforcing the New Jersey Law
                 Against Discrimination, N.J.S.A. 10:5-2 et seq., [to] the extent that it
                 deprives parents of fully informed knowledge and consent with respect to
                 any aspect of their children’s education including, without limitation, issues
                 related to his child’s mental health, welfare, physical health, and social
                 transitioning in particular”;

             •   restraining the NJDOE from “providing guidance to school districts which
                 deprives parents of fully informed knowledge and consent with respect to
                 any aspect of their children’s education including, without limitation, issues
                 related to his (sic) child’s mental health, welfare, physical health, and social
                 transitioning in particular”;

             •   restraining the Board “from enforcing Board Policy 5756 and otherwise
                 acting to socially transition the plaintiff’s daughter without his fully
                 informed knowledge and consent;”

             •   requiring the Board to “re-integrate Jane Doe, said name being fictitious,
                 into classroom instruction and shall treat her in all respects in accordance
                 with her biological female sex;”

             •   appointing an “independent monitor . . . to protect Mr. Doe’s parental
                 rights, at the Board’s sole expense” who would have “all powers necessary
                 to ensure that the Board fully complies with its obligation to treat Jane Doe
                 as a biological female so as to protect Mr. Doe’s parental rights[.]”


  See ECF No. 3-4. Though the proposed order references Jane and seeks to directly impact

  her, she is not a party to this case and no safeguards are in place, either in the form of a



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  guardian ad litem or other advocate, to ensure she is not harmed if the Court grants the

  relief Doe demands. 2

          On January 31, 2024, the Court held a teleconference and set forth a briefing

  schedule on Doe’s demand for a TRO. The Board Defendants now respond.

                                       STANDARD OF REVIEW

          The parties’ initial dispute concerns who bears the burden of proof on Doe’s

  application for injunctive relief. Doe contends the Board Defendants bear the burden and

  must satisfy the “strict scrutiny” test because “fundamental rights are in issue[.]” Pl.’s

  Mvg. Br., *13. Doe is wrong to the extent he suggests that the burden begins with the

  Board Defendants and excuses him from having to make an initial showing that Board

  Policy 5756 infringes upon a fundamental right embraced by substantive due process.

          “In deciding whether to issue a preliminary injunction, plaintiffs normally have the

  burden of demonstrating a sufficient likelihood of prevailing on the merits.”

  Reilly v. City of Harrisburg, 858 F.3d 173, 180 (3d Cir. 2017). In First Amendment cases,

  after the plaintiff comes forward to show “that the law restricts protected speech,” the

  burden shifts to the government to satisfy the requisite level of scrutiny (intermediate or

  strict). Id. at 180 n.5.

          Similarly, in the Second Amendment context, after a plaintiff demonstrates the

  government regulation burdens his right to bear arms, “the government must

  demonstrate that the regulation is consistent with this Nation’s historical tradition of

  firearm regulation.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 17

  (2022).



  2 To be clear, as the sole plaintiff, Doe can only assert his own rights and interests. Hannah v. City of

  Dover, 152 F. App'x 114, 116 (3d Cir. 2005).


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         It’s no different in the substantive due process context. Doe, as the movant, must

  come forward and show that he possesses a constitutionally-recognized right to control

  the school environment as to Jane, and that Board Policy 5756 infringes upon this

  purported right. See Leebaert v. Harrington, 332 F.3d 134, 142 (2d Cir. 2003). Without

  this requisite showing, the Board Defendants only need to meet rational basis review.

  Heffner v. Murphy, 745 F.3d 56, 79 (3d Cir. 2014).

         Under rational basis review, a regulation “withstands a substantive due process

  challenge if the state identifies a legitimate state interest that the legislature could

  rationally conclude was served by the statute.” Id. (citations and quotations omitted). The

  standard “allows legislative choices considerable latitude.” Id. The governmental interest

  asserted “need only be plausible to pass constitutional muster” and courts will not

  “second-guess legislative choices or inquire into whether the stated motive actually

  motivated the legislation.” Id.

         As we explain below, Doe cannot demonstrate that the Constitution recognizes the

  fundamental right he espouses. Thus, the Court’s review of Board Policy 5756 falls under

  rational basis review. And it easily passes.




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                                         ARGUMENT

                       THE COURT SHOULD DENY DOE’S DEMAND
                       FOR A TEMPORARY RESTRAINING ORDER
                       AS HE CANNOT MEET THE STANDARD FOR
                       SUCH EXTRAORDINARY RELIEF.

         The issuance of temporary restraints is “‘an extraordinary remedy’ and ‘should be

  granted only in limited circumstances.’” Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700,

  708 (3d Cir. 2004)(citing American Tel. & Tel. Co. v. Winback & Conserve Program, Inc.,

  42 F.3d 1421, 1427 (3d Cir.1994)). To obtain such relief, the movant must first show: (1) a

  reasonable likelihood of success on the merits; and (2) irreparable injury in the absence

  of preliminary relief. Delaware River Port Auth., 501 F.2d at 919-20. If the movant makes

  this “gateway” showing, Reilly, 858 F.3d at 179, then the court must consider the following

  two factors: (3) “the possibility of harm to other interested persons from the grant or

  denial of the injunction, and (4) the public interest.” Delaware River Port Auth., 501 F.2d

  at 920.

         The movant must “‘make a clear showing that [the] four factors, taken together,

  warrant relief[.]’” Reilly, 858 F.3d at 178 (citing League of Women Voters of the United

  States v. Newby, 838 F.3d 1, 6–7 (D.C. Cir. 2016))(emphasis in original)). Here, Doe has

  wholly failed to make the requisite showing on any factor.

         A.     Doe Does Not Enjoy Any Likelihood Of Success On The Merits.

         Satisfying the first factor requires the movant to “demonstrate that it can win on

  the merits[.]” Reilly, 858 F.3d at 179. This requires, at this preliminary stage, a showing

  “significantly better than negligible but not necessarily more likely than not” that plaintiff

  will prevail on the merits.” Id.; see also Delaware River Port Auth., 501 F.2d at 920




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  (movant must demonstrate a “reasonable probability of eventual success in the

  litigation”).

         Here, Doe’s application in support of a TRO rests on Count II—which asserts

  violation of the Fourteenth Amendment’s Due Process Clause and also a violation of the

  Department of Education Organization Act of 1979, 20 U.S.C. § 3401. See Pl.’s Mvg. Br.,

  **8-11. Doe cannot show a likelihood of success on either theory.

         The Court can quickly dispense with Doe’s reliance upon 20 U.S.C. § 3401 for

  injunctive relief. That provision partially codified the Department of Education

  Organization Act of 1979, Pub. L. No. 96-88, 93 Stat. 669 (1979). The legislation created

  the U.S. Department of Education. 20 U.S.C. § 3411. The legislation’s preamble—which

  Doe relies upon in support of his theory, pl.’s mvg. br., *11—recognizes that “parents have

  the primary responsibility for the education of their children, and States, localities, and

  private institutions have the primary responsibility for supporting that parental role.” 20

  U.S.C. § 3401. But nothing in the statute grants private persons a cause of action to

  enforce this preamble. In fact, a separate provision declares “it is the intention of the

  Congress in the establishment of the Department to protect the rights of State and local

  governments and public and private educational institutions in the areas of educational

  policies and administration of programs . . . .” 20 U.S.C. § 3403. These recitations of

  Congress’s factual findings and intentions do not confer any enforceable statutory rights

  upon Doe. Thus, to the extent his claim for an injunction rests on this provision, it fails.




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                1.     A Parent’s Right To Direct School Curriculum Or Policy Is
                       Not Found In Our Nation’s History Or Tradition, Nor In Any
                       Precedent.

         The Fourteenth Amendment provides that no State shall ‘deprive any person of

  life, liberty, or property, without due process of law.’” Troxel, 530 U.S. at 65. This

  guarantee of due process contains both a procedural and substantive component.

  Washington, 521 U.S. at 719-20. Substantive due process—the only component at issue

  here—“provides heightened protection against government interference with certain

  fundamental rights and liberty interests.” Id. at 720.

         The U.S. Supreme Court has “held that the Due Process Clause protects two

  categories of substantive rights.” Dobbs, 597 U.S. at 237. The first category consists of

  those rights found in the first eight amendments, which the Court has incorporated into

  the Due Process Clause and made applicable to the States. Id. The second category

  consists of those “fundamental rights that are not mentioned anywhere in the

  Constitution,” but which are recognized to fall within the Due Process Clause because they

  are “‘deeply rooted in [our] history and tradition’” and “essential to our Nation’s ‘scheme

  of ordered liberty.’” Id. (citing Timbs v. Indiana, 586 U.S. __, 139 S.Ct. 682, 686

  (2019)(alteration in original)). This case concerns the second category.

         To determine whether a purported right falls within substantive due process,

  courts must undertake a historical analysis. Id. at 238. This includes examining historical

  authorities, such as Blackstone’s Commentaries, and state constitutions in effect at the

  time of the amendment’s adoption. See Id. These “[h]istorical inquiries” are essential to

  avoid conflating “the Fourteenth Amendment’s reference to ‘liberty,’” with “our own

  ardent views about the liberty that Americans should enjoy.” Id. at 239.




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          The rights of parents “in the care, custody, and control of their children” is one of

  the “oldest of the fundamental liberty interests” encompassed by the Due Process Clause.

  Troxel, 530 U.S. at 65-66. The Board Defendants endorse this view. However, the

  historical analysis of how far this right extends simply does not support the broad power

  that Doe believes he wields—i.e., the power to dictate the school environment and and

  curriculum.

          The duties of parents to children consist of “three particulars”: their maintenance,

  their protection and their education. 2 WILLIAM BLACKSTONE, COMMENTARIES *160 (1877).

  But even here, Blackstone spoke in terms of the parent’s obligation to the child, not their

  power over school districts and curriculum. For example, Blackstone commented that

  parents had a duty to provide their child 3 with a proper “culture and education” so that

  he avoids “grow[ing] up like a mere beast, to lead a life useless to others, and shameful to

  himself.” Id. at *165. Yet after sharing this view, Blackstone acknowledged that the

  “municipal laws of most countries seem to be defective in this point, by not constraining

  the parent to bestow a proper education upon his children.” Id. In other words, while

  Blackstone recognized that a parent owed his children a duty to provide them an

  education, he also lamented that the laws at that time did not define or enforce this

  obligation. Blackstone’s frustration would be curious if, as Doe posits, parents had a

  recognized fundamental right under English common law to administer the schools and

  control its curriculum. Laws recognizing such a power would appear far removed from

  the “defective” municipal laws that drew Blackstone’s ire and prevailed at the time.




  3 Blackstone was only speaking of duties owed to children born in wedlock, as children born out of wedlock

  were only owed maintenance. 2 WILLIAM BLACKSTONE, COMMENTARIES, *172. Today, these distinctions are
  constitutionally infirm. See Weber v. Aetna Casualty & Surety Co., 406 U.S. 164 (1972).


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         In the same vein, in the mid-17th century, the colony of Massachusetts enacted the

  Law of 1647—the bedrock of public education today. ELLWOOD P. CUBBERLEY, PUBLIC

  EDUCATION IN THE UNITED STATES 18 (Riverside Textbooks in Educ. ed., 1919). The law

  required every town with at least 50 households to appoint a reading and writing teacher,

  and pay appropriate wages. Id. In addition, towns with at least 100 households were

  required to provide a grammar teacher who would prepare children for “university.” Id.

  The principles underlying this legislation, as articulated by historian George Martin,

  recognized that the “obligation to furnish [] education rests primarily upon the parent,”

  but that the State has a “right to enforce this obligation” and—most critically here—

  “determine the kind of education, and the minimum amount.” Id. at 19 (emphasis

  added). The Massachusetts Law of 1647 became the basis for legislation in all other

  American colonies (except Rhode Island). Id. at 19.

         Further evidence of the government’s power to regulate instructional content

  within the schools is gleamed from the public debate in the early 19th century over whether

  schools should be taxpayer-funded. See Id. at 121-22. One of the chief concerns raised by

  opponents of taxpayer funded schools was that schools may teach non-English classes,

  thereby “supplant[ing] instruction” in the parents’ preferred language. Id. at 122. If, as

  Doe contends, parents had a recognized right to commandeer the schools, this wouldn’t

  have been seen as a valid concern.

         Indeed, at the time of the Fourteenth Amendment’s passage, American schools

  were almost unrecognizable when compared to schools today. “The curriculum was

  usually rudimentary; ungraded schools were common in rural areas; the school term was

  but three months a year in many states; and compulsory school attendance was virtually

  unknown.” Brown v. Bd. of Ed., 347 U.S. 483, 490 (1954). If parents actually had a


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  constitutional right to administer the schools and the curriculum, it’s hard to believe they

  would have neglected exercising it and simply settled for “rudimentary” curriculum.

         There simply isn’t a single authority—either cited by Doe or that the Board has

  located—that suggests a historical right of parents to control or direct the school

  environment or curriculum.

         Even the U.S. Supreme Court has refrained from conferring upon parents the

  broad rights that Doe claims. The Court recognized the “natural duty of the parent to give

  his children education suitable to their station in life” in Meyer v. Nebraska, 262 U.S.

  390, 400 (1923). In doing so, the Court overturned a private school teacher’s criminal

  conviction for teaching in German, thereby running afoul of a Nebraska law that

  prohibited teaching subjects in any “modern” language—i.e., German, French, Spanish,

  Italian (Latin, Greek, and Hebrew were considered classical languages under the law)—

  until students graduated the eighth grade. The Court reasoned that the teacher’s “right []

  to teach and the right of parents to engage him so to instruct their children” fell within

  the right of liberty conferred by the amendment. Id. at 400.

         But in the same breath that it recognized this right, the Court tempered its breadth

  by recognizing that States have the power “to make reasonable regulations for all schools,

  including a requirement that they shall give instructions in English” and “prescribe a

  curriculum for institutions which it supports.” Id. at 402. Nebraska ran afoul of the

  Constitution because its statute “interfere[s] only with teaching . . . a modern language,

  leaving complete freedom as to other matters,” thereby rendering the law arbitrary and

  capricious. Id.

         Nothing in Meyer, of course, recognized a parent’s right to dictate the school’s

  curriculum or otherwise administer the schools. The Court did not recognize, for example,


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  a parent’s right to compel a teacher to provide foreign language instruction against the

  teacher’s will or school’s policy.

         Two years later, in Pierce v. Soc’y of the Sisters of the Holy Names of Jesus & Mary,

  268 U.S. 510 (1925), the Court returned to the intersection between parents and schools.

  The Court struck down an Oregon statute that required parents to send their kids to public

  schools between the ages of 8 and 16. Id. at 535. The suit was brought by private

  institutions that sought to provide educational opportunities to students of the same age

  covered by the law. Id. at 531-32. The Court found that the statute unconstitutionally

  infringed upon “the liberty of parents and guardians to direct the upbringing and

  education of children under their control” by eliminating their ability to send them to

  private school. Id. at 534.

         Pierce recognizes the right of parents to select which schools to attend—i.e., private

  versus public. It says nothing about parents dictating board policy or curriculum choices.

         The Court would revisit the issue of parental rights and schooling in Wisconsin v.

  Yoder, 406 U.S. 205 (1972). There, the Court affirmed the right of Amish families to

  withdraw their students from the educational system after the eighth grade. Id. at 234-

  35. The Court found that Wisconsin’s compulsory education statute requiring students to

  attend schools until age 16 violated the First Amendment’s Free Exercise Clause and the

  Amish parents’ liberty interest protected by the Fourteenth Amendment. Id. at 234.

         Yoder turned on the parents’ right to remove a child from school after a certain

  age. Nothing in Yoder grants parents the right over how schools operate, their policies, or

  their curriculum.

         Taken together, Meyer, Pierce and Yoder recognize parents’ rights to attend

  private versus public schools, Pierce, 268 U.S. at 535; to remove a child from school after


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  a certain age based on religious teachings, Yoder, 406 U.S. at 234; and receive certain

  curriculum that “is not injurious to the health, morals or understanding of the ordinary

  child” and which both the parent and local school district approve, even though the State

  may disagree, Meyer, 262 U.S. at 403. Running this precedent through the fastest of

  centrifuges will not distill any rule that remotely suggests parents have a constitutional

  right to control the school environment. The U.S. Supreme Court has never recognized

  any such substantive due process right.

         The precedent from the Third Circuit Court of Appeals that Doe relies upon also

  does not recognize any such right. In Gruenke v. Seip, 225 F.3d 290, 305-06 (3d Cir.

  2000), the court found that a high school swim coach improperly interfered with a

  student and family’s “right to be free from state interference with family relations” when

  he pressured the student into taking a pregnancy test in front of her teammates. This

  allowed the test results to spread throughout the school community, making it impossible

  for the family to deal with the matter privately. Id. at 306. The court held that school-

  sponsored counseling and testing that “pry[s] into private family activities can overstep

  the boundaries of school authority and impermissibly usurp the fundamental rights of

  parents to bring up their children, as they are guaranteed by the Constitution.” Id. at 307.

  But despite this analysis, the Court then dismissed the substantive due process claim on

  the basis that the law was not so clearly established as to prohibit the coach’s conduct. Id.

         At most, Seip stands for the proposition that schools may not pry into, or compel

  students to divulge, sensitive personal and family matters. See Id. at 307. Of course, none

  of that has any application here, as nobody at DVRHS coerced or compelled Jane to

  undergo any tests related to her gender. Nor did anyone at DVRHS randomly or

  systematically select Jane for social transition. As the Complaint admits, Jane approached


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  the school district and expressed her gender preferences, not the other way around.

  Comp., ¶ 22; see also Miranda Decl., ¶ 15.

        In McCurdy v. Dodd, 352 F.3d 820, 828 (3d Cir. 2003), the court declined to find

  that the Due Process Clause protected a parent’s “liberty interest in the companionship,

  care, and affection of his independent adult son.” The case arose from a father’s attempt

  to bring a Section 1983 claim based on the wrongful shooting and death of his adult son.

  Id. at 822-23. The case had nothing to do with schools or education.

        In Croft v. Westmoreland Cnty. Child. & Youth Servs., 103 F.3d 1123, 1126-27 (3d

  Cir. 1997), the court found a county child welfare agency and its caseworker interfered

  with a parent’s liberty interest when the employee threatened to place a four-year-old

  child in foster care, unless the father left the home. The agency had received an

  anonymous tip of child abuse but the caseworker admitted she “had no opinion one way

  or the other whether sexual abuse had occurred,” yet still issued the alleged threat of

  removal. Id. at 1127. Neither the words “school,” “education,” nor “curriculum” appear

  anywhere in Croft.

        None of these authorities assist Doe in trying to have this Court discover a

  constitutional right of parents over the school environment or curriculum.

               2.      Precedent Actually Strikes Against The Right Doe Demands This
                       Court Recognize.

        The right of parents to “control a child's upbringing and education” is “neither

  absolute nor unqualified.” C.N. v. Ridgewood Bd. of Educ., 430 F.3d 159, 182 (3d Cir.

  2005). Rather, in “certain circumstances the parental right to control the upbringing of a

  child must give way to a school’s ability to control curriculum and the school

  environment.” Id. at 182.



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         For example, in Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 528–29 (3d Cir.

  2018), the court rejected a substantive due process claim—one predicated on privacy

  grounds—that took issue with a school policy permitting transgender students to use

  locker rooms associated with their gender identity, not their anatomy. The court held

  that the district had a compelling interest in protecting transgender students, as

  “[m]istreatment of transgender students can exacerbate gender dysphoria, lead to

  negative educational outcomes, and precipitate self-injurious behavior.” Id. at 529. The

  court didn’t mince words about what’s at stake: “[w]hen transgender students face

  discrimination in schools, the risk to their wellbeing cannot be overstated—indeed, it can

  be life threatening.” Id.

         Similarly, in Swanson v. Guthrie Indep. Sch. Dist., 135 F.3d 694, 703 (10th Cir.

  1998), the court rejected the substantive due process claim of a parent and student who

  desired to attend school on a part-time basis. The plaintiffs complained that the school

  policy directing students to attend school on a full-time basis infringed on the familial

  relationship, as well as the free exercise of their religion. Id. at 697. The court rejected this

  argument, finding that “parents simply do not have a constitutional right to control each

  and every aspect of their children's education and oust the state’s authority over that

  subject.” Id. at 699. In its survey of how other federal courts had addressed the scope of

  parental authority in the education domain, the court found “that parents have no right

  to exempt their children from certain reading programs the parents found objectionable,

  or from a school’s community-service requirement, or from an assembly program that

  included sexually explicit topics.” Id. (citing Immediato v. Rye Neck School Dist., 73 F.3d

  454 (2d Cir.), cert. denied, 519 U.S. 813 (1996)); Brown v. Hot, Sexy and Safer

  Productions, Inc., 68 F.3d 525 (1st Cir.1995), cert. denied, 516 U.S. 1159 (1996);


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  Fleischfresser v. Directors of School Dist. 200, 15 F.3d 680 (7th Cir.1994); Mozert v.

  Hawkins County Bd. of Educ., 827 F.2d 1058 (6th Cir.1987), cert. denied, 484 U.S. 1066

  (1988)).

         Even in the area of parental consent on matters of an extremely personal or

  sensitive nature affecting minors, courts have not recognized a “right to know and

  consent” under its substantive due process jurisprudence. For instance, in Planned

  Parenthood of Cent. Missouri v. Danforth, the Court struck down that portion of a

  Missouri statute that required an unmarried minor to obtain the “consent of a parent or

  person in loco parentis as a condition for abortion[.]” 428 U.S. 52, 74 (1976), overruled

  on other grounds in part by Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833 (1992).

  The Court found that “the State does not have the constitutional authority to give a third

  party an absolute, and possibly arbitrary, veto over the decision” by the minor to

  terminate a pregnancy. Id. Even when the Court later upheld a statute requiring parental

  consent, it did so on the basis that such a requirement did not impose an undue burden

  on the minor’s right to an abortion—and not because the parent had a constitutional right

  to know and approve. See Casey, 505 U.S. at 899.

         The intersection between parental rights and education leads to one inescapable

  conclusion: “[w]hile parents may have a fundamental right to decide whether to send

  their child to a public school, they do not have a fundamental right generally to direct how

  a public school teaches their child.” Blau, 401 F.3d at 395 (6th Cir. 2005)(emphasis in

  original).




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                3.      Doe Has Not Established That The Board Defendants Infringed
                        Upon A Fundamental Right.

         Doe cannot show a substantial likelihood of success on the merits. He simply

  cannot show a recognized substantive due process right that allows him to commandeer

  or otherwise administer DVRHS. While his brief cites cases repeating the venerable

  principle that the “‘custody, care and nurture of the child reside first in the parents,’” pl.’s

  mvg. br., *8 (citing Troxel, 530 U.S. at 65), these broad statements simply do not assist

  him in showing what he must: a constitutional right, grounded in substantive due process,

  that allows him to dictate how school districts react to a transgender student’s request

  that staff use his preferred name and pronoun. No court has ever recognized such a right.

  And there is nothing “deeply rooted in [our] history and tradition,’” Dobbs, 597 U.S. at

  237 (citing Timbs, 586 U.S. __, 139 S.Ct. at 686), which would justify recognizing such a

  right now.

         While Doe certainly has the right to remove Jane from public school and enroll her

  in private school or arrange for home-schooling, see Pierce, 268 U.S. at 525, he has no

  right to demand that the school district bend to his will on matters of curriculum, school

  administration, or policies concerning how to treat transgender students, such as Jane.

                4.      Board Policy 5756 Easily Passes Rational Basis Review.

         Because Doe cannot establish any fundamental rights are at issue here, the Court’s

  review of Board Policy 5756 is subject to rational basis review. This is easily met. Board

  Policy 5756 is intended to create an inclusive, discrimination-free environment for

  transgender students and promote their well-being and welfare inside the school

  environment. McKinney Decl., ¶ 8. These interests were found to be compelling in




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  Boyertown Area Sch. Dist., 897 F.3d at 528-29. They easily meet rational basis review

  here.

          For these reasons, Doe cannot establish the first factor necessary to justify a TRO.

  That alone dooms his application.

          B.     Doe Cannot Show An Irreparable Injury.

          To satisfy the second factor necessary for a TRO or preliminary injunctive relief,

  plaintiff must show an irreparable injury. Acierno v. New Castle Cnty., 40 F.3d 645, 653

  (3d Cir. 1994). This factor requires showing that the injury “cannot be redressed by a legal

  or an equitable remedy following a trial.” Id. (internal quotations and citations omitted).

  The injunctive relief “must be the only way of protecting the plaintiff from harm.” Instant

  Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir. 1989). The harm

  “cannot be remote or speculative; it must be poised to occur before the District Court can

  hold a trial on the merits.” Ecosave Automation, Inc. v. Delaware Valley Automation,

  LLC, 540 F. Supp. 3d 491, 500 (E.D. Pa. 2021)(citing BP Chems. Ltd. v. Formosa Chem.

  & Fibre Corp., 229 F.3d 254, 263-64 (3d Cir. 2000)).

          Here, Doe cannot establish any such irreparable injury. His entire argument on

  this point rests on his mistaken assertion that the “violation of constitutional rights is

  facially apparent here, and DVRHS has promised that it shall continue to so violate Mr.

  Doe’s rights.” Pl.’s Mvg. Br., *13. As we explained above, though, the Board Defendants

  did not violate Doe’s constitutional rights.

          Moreover, to the extent Doe claims that Jane being held out of school constitutes

  irreparable harm, he runs into two problems. First, such harm would run to Jane, who is

  a non-party. Second, and more pointedly, Doe’s decision to keep Jane out of school—in

  violation of New Jersey’s compulsory education law, N.J.S.A. § 18A:38-28—because he


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  disagrees with the Board’s transgender support policy is of his own making. As a matter

  of law, this cannot constitute irreparable harm. Caplan v. Fellheimer Eichen Braverman

  Kaskey, 68 F.3d 828, 839 (3d Cir. 1995)(“If the harm complained of is self-inflicted, it

  does not qualify as irreparable”). Thus, Doe cannot meet the second threshold factor

  necessary to obtain injunctive relief.

         While this should end the analysis, for the sake of thoroughness, the Board

  Defendants will analyze the third and fourth factors.

         C.     The Balance Of Equities Weighs Against Issuing An Injunction.

         The third factor examines whether the balance of equities weighs in favor of

  granting the injunction. Allegheny Energy, Inc. v. DQE, Inc., 171 F.3d 153, 167 (3d Cir.

  1999). Doe spends all of one sentence addressing this factor. He writes: “[t]here is no

  harm to defendants if injunctive relief is granted since they have no compelling

  governmental interest in violating parental rights.” Pl.’s Mvg. Br., *13. This conclusory

  statement is just a recasting of Doe’s belief that his action has merit. As we explained

  above, it does not.

         The Board Defendants have a “compelling state interest in protecting transgender

  students from discrimination,” Boyertown Area Sch. Dist., 897 F.3d at 529. Schools that

  provide inclusive, safe environments for transgender students foster “inclusivity,

  acceptance, and tolerance.” Id. “When a school promotes diversity and inclusion,

  ‘classroom discussion is livelier, more spirited, and simply more enlightening and

  interesting [because] the students have the greatest possible variety of backgrounds.’” Id.

  (citing Grutter v. Bollinger, 539 U.S. 306, 330 (2003)).

         More specifically on the issue of social transition, the Third Circuit has recognized:

  “[f]or transgender individuals, an important part of social gender transition is having


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  others perceive them as being the gender the transgender individual most strongly

  identifies with.” Boyertown Area Sch. Dist., 897 F.3d at 522. This “transition can help

  alleviate gender dysphoria and is a useful and important tool for clinicians to ascertain

  whether living in the affirmed gender improves the psychological and emotional function

  of the individual.” Id. at 523.

            Board Policy 5756 seeks no less than to address these concerns and create the type

  of school environment that permits all students, no matter their background, to thrive.

  See McKinney Decl., ¶ 8.

            Whatever Doe’s disagreements with the Board’s goals, his disagreement—no

  matter how vehement and sincere—does not override the Board’s “ability to control

  curriculum and the school environment, C.N., 430 F.3d at 182. Nothing in Board Policy

  5756 interferes with his own interactions with Jane or how Jane is addressed outside the

  school environment. Nor does the policy prohibit him from removing Jane from DVRHS

  and enrolling her in a private or public school that does not have a transgender support

  policy.

            There’s simply no showing that allowing Jane to be referred to by her preferred

  name and pronoun elevates Doe’s harm to such a level that it would support the claimed

  injunctive relief. Thus, Doe cannot meet the third factor either.

            D.    The Public Interest Does Not Weigh In Favor Of An Injunction.

            “Among the more nebulous concepts of equitable relief is the public interest

  factor of injunction analysis.” McCahon v. Pennsylvania Turnpike Commission, 491 F.

  Supp. 2d 522, 528 (M.D. Pa. 2007). “This factor requires the court to look beyond the

  parties’ respective interests and to gauge the injunction’s potential effects on the

  community as a whole.” Id. In particular, the court “must also consider the hardship to


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  any interested third parties.” LCN Enterprises, Inc. v. City of Asbury Park, 197 F. Supp.

  2d 141, 153 (D.N.J. 2002)(citing Oburn v. Shapp, 521 F.2d 142, 152 (3d Cir.1975)).

         Once again, Doe gives this factor short shrift, stating only that “the public interest

  favors the plaintiff since the adherence to fundamental constitutional rights is always in

  the greatest public interest.” Pl.’s Mvg. Br., *14. As with the second and third factors,

  Doe’s argument here more or less points the Court back to his argument on the “likelihood

  of success” factor. The Board Defendants do not believe this properly addresses the fourth

  factor and we will not repeat our arguments for why Doe’s substantive due process claim

  lacks merit. Rather, we ask that the Court take into account the impact an injunction will

  have on the school community, just as the fourth factor envisions. McCahon, 491 F. Supp.

  2d at 528.

         To reiterate: what Doe asks is for an injunction that prohibits school officials from

  addressing transgender students with that student’s preferred names and pronouns

  unless the parents consent. Indeed, Doe seeks to have this Court insert a special monitor

  in the school to ensure Jane is referred to by her female name and pronouns, despite

  Jane’s expressed wishes. ECF No. 4.

         But despite his heavy-handed demand for relief, Doe never once addresses the

  rights of the third parties who will actually be directly impacted by the injunction—

  transgender students, such as Jane.

         Let’s start with Jane. Nowhere in Doe’s analysis of the injunction’s impact does she

  appear. See Pl.’s Mvg. Br., *13. But ignoring Jane doesn’t erase her. The fact remains that

  an injunction will impact how Jane experiences school. Considering that even Doe admits

  that it was Jane who approached school officials to express that she identified as a male

  and wanted to be referred to as such, Comp., ¶ 22, this issue is one of significant and


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  critical importance to her. The Court does not have before it any medical evidence as to

  the impact this may have on Jane.

         But Jane isn’t the only transgender student impacted. If Doe’s demand for

  injunctive relief is granted, the Board would be required to disregard the gender identity

  of all transgender students who had disapproving parents. That places them at risk also.

  What are the risks? “In a survey of 27,000 transgender individuals, 40% reported a

  suicide attempt (a rate nine times higher than the general population).” Boyertown Area

  Sch. Dist., 897 F.3d at 523. However, “when transgender students are addressed with

  gender appropriate pronouns and permitted to use facilities that conform to their gender

  identity, those students reflect the same, healthy psychological profile as their peers.” Id.

  (citations and internal quotations omitted). We respectfully submit that these concerns

  should not be disregarded or taken lightly.

         Thus, the public interest factor overwhelmingly weighs against granting the

  injunction.

                                       CONCLUSION

         Because Doe cannot make the requisite showing, the Court should deny his

  application for a temporary restraining order and preliminary injunction.



  Dated: February 7, 2024                             Respectfully submitted,

                                                      ANDERSON & SHAH, LLC
                                                      ATTORNEYS AT LAW
                                                      Attorneys for Defendants Delaware
                                                      Valley Regional High School Bd. of Ed.,
                                                      Scott McKinney, and Ashley Miranda

                                                      By: /s/ Roshan D. Shah________
                                                          Roshan D. Shah, Esq.



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